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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ALLAN ROBERTS,
 et al.,

          Plaintiffs,

 V.                                                         Case No. 1:20-cv-1227-RCL

 THE ISLAMIC REPUBLIC OF IRAN

          Defendant.


                                    FINDING OF LIABILITY ·

         For the reasons set forth in the Court's Memorandum Opinion issued this date, the Court ·

hereby GRANTS IN PART and DENIES IN PART the plaintiffs' motion [16] for default

judgment. Specifically, the Court holds as follows:

      1. As to Counts I to XIII, defendant Iran is LIABLE to plaintiffs Allan Roberts, Jaco Botes,

         Steven Crowley, John Jameson, Abdul Ghaffar Mughal, George Riekert, the Estate of

         Christiaan Oosthuizen, George Kieser, Johann Steenberg, Leon Botha, Dean Capazorio,

         Pierre Du Plessis, and Schalk Bruwer under 28 U.S.C. § 1605A(c) for the extreme mental

         anguish, physical injury, and pain and suffering resulting from Iran's material support for

         attacks with explosively formed penetrators ("EFPs").

      2. As _to Count V, defendant Iran is LIABLE to plaintiffs Sitorai Khasanzod, Khalid Mughal,

         Hamid Mughal, Angela Mughal, N.M., and M.M. under 28 U.S.C. § 1605A(c) for the

         extreme mental anguish and harm, loss of solatium, and loss of affection resulting from

         Iran's material support for attacks with EFPs.




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  3. As to Count XIV, plaintiffs' motion for default judgment is DENIED without prejudice.

      Plaintiffs have not provided the Court with evidence of British, South African, or Iraqi law

     that could govern their claims for intentional infliction of emotional distress.



It is SO ORDERED.



SIGNED this~      ay of January, 2022.


                                                              Royce C. Lamberth
                                                           United States District Judge




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